 Case 3:16-cv-02510-FLW-TJB Document 1 Filed 05/03/16 Page 1 of 10 PageID: 1




                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


ALEXIS PICCIOTTO, on behalf of herself              Civil Case Number: _________________
and all others similarly situated,

                       Plaintiffs,                             CIVIL ACTION

                   -against-                           CLASS ACTION COMPLAINT
                                                                 AND
                                                        DEMAND FOR JURY TRIAL

MERCANTILE ADJUSTMENT BUREAU,
LLC., LVNV FUNDING, LLC and JOHN
DOES 1-25,

                       Defendants.

       Plaintiff ALEXIS PICCIOTTO (hereinafter, “Plaintiff”), a New Jersey resident, brings

this class action complaint by and through her attorneys, Marcus Zelman, LLC, against

Defendant MERCANTILE ADJUSTMENT BUREAU and LVNV FUNDING, LLC(hereinafter

“Defendant”), individually and on behalf of a class of all others similarly situated, pursuant to

Rule 23 of the Federal Rules of Civil Procedure, based upon information and belief of Plaintiff’s

counsel, except for allegations specifically pertaining to Plaintiff, which are based upon

Plaintiff’s personal knowledge.

                                     JURISDICTION AND VENUE

   1. The Court has jurisdiction over this class action under 28 U.S.C. § 1331, 15 U.S.C. §

       1692 et seq. and 28 U.S.C. § 2201. If applicable, the Court also has pendent jurisdiction

       over the state law claims in this action pursuant to 28 U.S.C. § 1367(a).

   2. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2).

                                     NATURE OF THE ACTION

   3. Plaintiff brings this class action on behalf of a class of New Jersey consumers seeking



                                                1
Case 3:16-cv-02510-FLW-TJB Document 1 Filed 05/03/16 Page 2 of 10 PageID: 2




     redress for Defendant’s actions of using an unfair and unconscionable means to collect a

     debt.

  4. Defendant's actions violated § 1692 et seq. of Title 15 of the United States Code,

     commonly referred to as the Fair Debt Collections Practices Act (“FDCPA”) which

     prohibits debt collectors from engaging in abusive, deceptive and unfair practices.

  5. Plaintiff is seeking damages, and declaratory and injunctive relief.

                                            PARTIES

  6. Plaintiff is a natural person and a resident of the State of New Jersey, and is a

     “Consumer” as defined by 15 U.S.C. §1692(a)(3).

  7. Defendant is a collection agency with its principal office located at 165 Lawrence Bell

     Drive, Suite 100, Williamsville, New York 14221-7900.

  8. Upon information and belief, Defendant is a company that uses the mail, telephone, and

     facsimile and regularly engages in business the principal purpose of which is to attempt

     to collect debts alleged to be due another.

  9. Defendant is a “debt collector,” as defined under the FDCPA under 15 U.S.C. §

     1692a(6).

  10. Defendant, LVNV Funding, LLC (“LVNV”), is a limited liability company with an

     office at 625 Pilot Rd Ste 3, Las Vegas, NV 89119-4485.

  11. Upon information and belief, LVNV is a purchaser of performing and non-performing

     consumer credit debts, which are in default at the time the debts are acquired.

  12. Upon information and belief, LVNV is a company that uses the mail, telephone, and

     facsimile and regularly engages in business the principal purpose of which is to attempt

     to collect debts alleged to be due another.




                                               2
Case 3:16-cv-02510-FLW-TJB Document 1 Filed 05/03/16 Page 3 of 10 PageID: 3




  13. In connection with its debt servicing operations, LVNV routinely hires other debt

     collectors, such as Mercantile Adjustment Bureau, LLC, to send dunning letters to

     consumers in an effort to collect money on defaulted consumer debts that LVNV

     acquires.

  14. John Does 1-25, are fictitious names of individuals and businesses alleged for the purpose

     of substituting names of Defendants whose identities will be disclosed in discovery and

     should be made parties to this action.

                                        CLASS ALLEGATIONS

  15. Plaintiff brings claims, pursuant to the Federal Rules of Civil Procedure (hereinafter

     “FRCP”) Rule 23, individually and on behalf of the following nationwide consumer class

     (the “Class”):

           •       All New Jersey consumers who were sent collection letters and/or notice from

                   Defendant attempting to collect an obligation owed to or allegedly owed to

                   HSBC BANK NEVADA, N.A. that contain at least one of the alleged violations

                   arising from Defendant's violation of 15 U.S.C. §1692 et seq..

           •       The Class period begins one year to the filing of this Action.

  13. The Class satisfies all the requirements of Rule 23 of the FRCP for maintaining a class

     action:

               •    Upon information and belief, the Class is so numerous that joinder of all

                    members is impracticable because there are hundreds and/or thousands of

                    persons who have received debt collection letters and/or notices from the

                    Defendant that violate specific provisions of the FDCPA. Plaintiff is

                    complaining of a standard form letter and/or notice that is sent to hundreds of




                                                  3
Case 3:16-cv-02510-FLW-TJB Document 1 Filed 05/03/16 Page 4 of 10 PageID: 4




              persons (See Exhibit A, except that the undersigned attorney has, in

              accordance with Fed. R. Civ. P. 5.2 partially redacted the financial account

              numbers in an effort to protect Plaintiff’s privacy);

          •   There are questions of law and fact which are common to the Class and which

              predominate over questions affecting any individual Class member. These

              common questions of law and fact include, without limitation:

                 a.      Whether Defendant violated various provisions of the FDCPA;

                 b.      Whether Plaintiff and the Class have been injured by Defendant’s

                         conduct;

                 c.      Whether Plaintiff and the Class have sustained damages and are

                         entitled to restitution as a result of Defendant’s wrongdoing and if

                         so, what is the proper measure and appropriate statutory formula to

                         be applied in determining such damages and restitution; and

                 d.      Whether Plaintiff and the Class are entitled to declaratory and/or

                         injunctive relief.

          •   Plaintiff’s claims are typical of the Class, which all arise from the same

              operative facts and are based on the same legal theories.

          •   Plaintiff has no interest adverse or antagonistic to the interest of the other

              members of the Class.

          •   Plaintiff will fairly and adequately protect the interest of the Class and has

              retained experienced and competent attorneys to represent the Class.




                                              4
Case 3:16-cv-02510-FLW-TJB Document 1 Filed 05/03/16 Page 5 of 10 PageID: 5




            •   A Class Action is superior to other methods for the fair and efficient

                adjudication of the claims herein asserted. Plaintiff anticipates that no unusual

                difficulties are likely to be encountered in the management of this class action.

            •   A Class Action will permit large numbers of similarly situated persons to

                prosecute their common claims in a single forum simultaneously and without

                the duplication of effort and expense that numerous individual actions would

                engender. Class treatment will also permit the adjudication of relatively small

                claims by many Class members who could not otherwise afford to seek legal

                redress for the wrongs complained of herein. Absent a Class Action, class

                members will continue to suffer losses of statutory protected rights as well as

                monetary damages. If Defendant’s conduct is allowed proceed to without

                remedy they will continue to reap and retain the proceeds of their ill-gotten

                gains.

            •   Defendant has acted on grounds generally applicable to the entire Class,

                thereby making appropriate final injunctive relief or corresponding

                declaratory relief with respect to the Class as a whole.


                               ALLEGATIONS OF FACT

  14. Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

     numbered “1” through “13” herein with the same force and effect as if the same were set

     forth at length herein.

  15. Some time prior to March 7, 2016, an obligation was allegedly incurred to HSBC Bank

     Nevada, N.A. (“HSBC”)

  16. The HSBC obligation arose out of a transaction in which money, property, insurance or


                                              5
Case 3:16-cv-02510-FLW-TJB Document 1 Filed 05/03/16 Page 6 of 10 PageID: 6




     services, which are the subject of the transaction, are primarily for personal, family or

     household purposes.

  17. The alleged HSBC obligation is a "debt" as defined by 15 U.S.C.§ 1692a(5).

  18. HSBC is a "creditor" as defined by 15 U.S.C.§ 1692a(4).

  19. Defendant contends that the HSBC debt is past due.

  20. Defendant collects and attempts to collect debts incurred or alleged to have been incurred

     for personal, family or household purposes on behalf of creditors using the United States

     Postal Services, telephone and Internet.

  21. On or about March 7, 2016, the Defendant caused to be delivered to the Plaintiff a

     collection letter in an attempt to collect the alleged HSBC debt. See Exhibit A

  22. The March 7, 2016 letter was sent or caused to be sent by persons employed by

     Defendant as a “debt collector” as defined by 15 U.S.C. §1692a(6).

  23. The March 7, 2016 letter is a “communication” as defined by 15 U.S.C. §1692a(2).

  24. The March 7, 2016 letter stated in part;

             “The account balance may periodically increase due to the addition of accrued

             interest or other charges as provided in your agreement with the original creditor

             or as otherwise provided by law.”

  25. Upon information and belief, no interest or other charges can legally be added to the

     balance already shown on the balance due.

  26. The language regarding the possibility of adding interest, fees, and other charges on an

     account where no such charges are legally allowed to be added, is confusing, misleading

     and deceptive to the least sophisticated consumer.

  27. Defendant’s actions as described herein are part of a pattern and practice used to collect




                                                 6
Case 3:16-cv-02510-FLW-TJB Document 1 Filed 05/03/16 Page 7 of 10 PageID: 7




     consumer debts.

  28. Defendant could have taken the steps necessary to bring its actions within compliance

     with the FDCPA, but neglected to do so and failed to adequately review its actions to

     ensure compliance with the law.

  29. On information and belief, Defendant sent a written communication, in the form annexed

     hereto as Exhibit A to at least 50 natural persons in the State of New Jersey within one

     year of the date of this Complaint.


                                            COUNT I

       VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                         15 U.S.C. §1692e et seq.

  30. Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs above

     herein with the same force and effect as if the same were set forth at length herein.

  31. Defendant’s debt collection efforts attempted and/or directed towards the Plaintiff

     violated various provisions of the FDCPA, including but not limited to 15 U.S.C. §

     1692e.

  32. Pursuant to 15 U.S.C. §1692e, a debt collector is prohibited from using false, deceptive,

     or misleading representation in connection with the collection of a debt.

  33. The Defendant violated 1692e by falsely suggesting that immediate payment of their

     balance would benefit them financially by stating that the amount may periodically

     change due to interest or other charges that may be added after the date of the letter. As

     the amount Defendant seeks to collect never varies from the date of issuance, and

     Defendant never makes an adjustment after it receives payment in the amount of the

     initial letter, the statement in its letter is false, deceptive and misleading.




                                                 7
Case 3:16-cv-02510-FLW-TJB Document 1 Filed 05/03/16 Page 8 of 10 PageID: 8




  34. By reason thereof, Defendant is liable to Plaintiff for judgment that Defendant's conduct

     violated Section 1692e et seq. of the FDCPA, actual damages, statutory damages, costs

     and attorneys’ fees.



                                          COUNT II

       VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                          15 U.S.C. §1692g et seq.

  35. Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs above

     herein with the same force and effect as if the same were set forth at length herein.

  36. Pursuant to 15 USC §1692g, a debt collector:

             (a) Within five days after the initial communication with a consumer in
                 connection with the collection of any debt, a debt collector shall, unless the
                 following information is contained in the initial communication or the
                 consumer has paid the debt, send the consumer a written notice containing –
                 (1) The amount of the debt;
                 (2) The name of the creditor to whom the debt is owed;
                 (3) A statement that unless the consumer, within thirty days after receipt of
                     the notice, disputes the validity of the debt, or any portion thereof, the debt
                     will be assumed to be valid by the debt-collector;
                 (4) A statement that the consumer notifies the debt collector in writing within
                     thirty-day period that the debt, or any portion thereof, is disputed, the debt
                     collector will obtain verification of the debt or a copy of a judgment
                     against the consumer and a copy of such verification or judgment will be
                     mailed to the consumer by the debt collector; and
                 (5) A statement that, upon the consumer’s written request within the thirty-
                     day period, the debt collector will provide the consumer with the name
                     and address of the original creditor, if different from the current creditor.


  37. The Defendant further violated 1692g by failing to accurately state the balance of the

     debt by stating that the outstanding balance may increase. Therefore, leaving the least

     sophisticated consumer to reasonably conclude that she must pay the balance stated in the

     letter immediately or possibly owe a larger amount, causing the consumer to be uncertain




                                               8
 Case 3:16-cv-02510-FLW-TJB Document 1 Filed 05/03/16 Page 9 of 10 PageID: 9




       of the amount owed.

   38. By reason thereof, Defendant is liable to Plaintiff for judgment that Defendant's conduct

       violated Section 1692g et seq. of the FDCPA, actual damages, statutory damages, costs

       and attorneys’ fees.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against Defendants as follows:

               (a)    Declaring that this action is properly maintainable as a Class Action and

certifying Plaintiff as Class representative, and Ari Marcus, Esq., as Class Counsel;

               (b)    Awarding Plaintiff and the Class statutory damages;

               (c)    Awarding Plaintiff and the Class actual damages;

               (d)    Awarding Plaintiff costs of this Action, including reasonable attorneys’

fees and expenses;

               (e)    Awarding pre-judgment interest and post-judgment interest; and

               (f)    Awarding Plaintiff and the Class such other and further relief as this Court

may deem just and proper.


Dated: May 03, 2016                          /s/ Ari Marcus
                                             Ari Marcus, Esq.
                                             MARCUS ZELMAN, LLC
                                             1500 Allaire Avenue, Suite 101
                                             Ocean, New Jersey 07712
                                             (732) 695-3282 telephone
                                             (732) 298-6256 facsimile
                                             Attorneys for Plaintiff


                                             /s/ Yitzchak Zelman
                                             Yitzchak Zelman, Esq.
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                                             1500 Allaire Avenue, Suite 101
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                                                 9
Case 3:16-cv-02510-FLW-TJB Document 1 Filed 05/03/16 Page 10 of 10 PageID: 10




                                             (732) 695-3282 telephone
                                             (732) 298-6256 facsimile
                                             Attorneys for Plaintiff




                                 DEMAND FOR TRIAL BY JURY

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests a

trial by jury on all issues so triable.


May 03, 2016                                 /s/ Ari Marcus
                                             Ari Marcus, Esq.



                        CERTIFICATION PURSUANT TO LOCAL RULE 11.2

        I, Ari H. Marcus, the undersigned attorney of record for Plaintiff, do hereby certify to my

own knowledge and based upon information available to me at my office, the matter in

controversy is not the subject of any other action now pending in any court or in any arbitration

or administrative proceeding.



Dated: May 03, 2016
                                             /s/ Ari Marcus
                                             Ari Marcus, Esq.




                                                10
